Case: 1:19-cr-00001 Document #: 4 Filed: 01/02/19 Page 1 of 1 PagelD #:41 A

IN THE UNITED STATES DISTRICT COURT Fit E D
FOR THE ,
NORTHERN DISTRICT OF ILLINOIS JAN 02 2019
EASTERN DIVISION

THOWAS G. BRUTON
USA, CLERK, U.S. DISTRICT COURT

Plaintiff(s),

Judge Sheila Finnegan
Edward M. Burke

£ FINNEGAN

 

Defendant(s). MAGIST RATE JU DG
ORDER

Arrest warrant issued to the agent the of the Federal Bureau of Investigation as to defendant
Edward M. Burke. The Government’s motion to seal the case is granted. Enter Order attached.

Shy Mint poto
Sheila Finnegan
United States Magistrate Judge

Date: 1/2/2019

 
